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                                                                           February 21, 2024

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA


 IN RE: CLOSURE OF CENTRAL
 VIOLATIONS BUREAU (CVB)                 STANDING ORDER NO. BMM-30
 CASES



      IT IS HEREBY ORDERED that Central Violations Bureau (CVB) cases

shall be presumptively considered suitable for closure after pending for two or

more years unless cause is shown why the case should remain open.

      To effectuate this order, the clerk of this court shall, on an annual basis,

compile a report of all CVB cases that have been pending for a period of two years

or longer. As to each such case, the clerk shall notify the United States Attorney’s

Office that the case will be closed unless the United States Attorney’s Office is

able to show cause why the case file should remain open. The United States

Attorney’s Office shall have no fewer than 30 days from the date of the clerk’s

notice in which to respond and show cause.

      Attempts to show cause why a case file should remain open shall be

considered and resolved via written order by the presiding judge or, in the event

the presiding judge is no longer serving on the court, by the chief judge or his or

her designee. In the absence of a timely response to the clerk’s notice, the clerk

shall close the case in question pursuant to this order.


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       At the conclusion of the annual review process, the clerk shall make a report

to the court of all cases closed pursuant to this order.

       The clerk of court is directed to post this order on the court’s public website

and to notify the judicial officers of this district of the entry of this order.

       DATED this 21st day of February, 2024.




                                            Brian Morris, Chief Judge
                                            United States District Court




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